     Case: 1:19-cv-04565 Document #: 165 Filed: 11/05/19 Page 1 of 1 PageID #:3321




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS


Hangzhou Aoshuang E-Commerce Co.             )
                                             )      Case No: 19 C 4565
v.                                           )
                                             )      Judge Martha M. Pacold
The Partnerships and Unincorporated          )
Associations, et al.                         )



                                            ORDER

Plaintiff’s motion to dismiss defendant Women_Fashion (Schedule A Line No. 171) [159] is
granted. Plaintiff’s motion to dismiss defendants aling fashion cool (Line 5); heheni store (Line
68); home full (line 71); niubi store (Line 117); shenjianfeng (Line 131); and wowan1 (line 172)
[162] is granted. Defendant 118 Nyfashioncity’s petition for dismissal [153] is granted.




Dated: November 5, 2019                      /s/ Judge Martha M. Pacold
